                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                     CRIMINAL CASE NO. 1:12cr19


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                   ORDER
                            )
                            )
ROY THOMAS HILL, JR.        )
                          )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 61].

     The Government seeks dismissal of the Bill of Indictment without

prejudice as to this Defendant only. Fed.R.Crim.P. 48(a). The motion will be

granted.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 61] is hereby GRANTED and the Bill of Indictment in this case

is hereby DISMISSED without prejudice as to Defendant Roy Thomas Hill, Jr.

                                     Signed: June 21, 2012




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